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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,

       v.                                              Case No. 11-CR-20540
                                                       HON. TERRENCE G. BERG
 D-14 SRINIVAS REDDY,
       (a.k.a. “DR. REDDY”),

              Defendant.
                                           /


             ORDER DENYING DEFENDANT SRINIVAS REDDY’S
            RULE 29(c) MOTION FOR JUDGMENT OF ACQUITTAL

       On April 30, 2014, at the conclusion of a jury trial, Defendant Srinivas Reddy

 was found guilty of conspiracy to commit health care fraud in violation of 18 U.S.C.

 § 1349 (Count 1) and three substantive counts of health care fraud in violation of 18

 U.S.C. § 1347 (Counts 4, 5 and 6). He now moves for a judgment of acquittal under

 Federal Rule of Criminal Procedure 29(c) (Dkt. 416). The government has

 responded to the motion (Dkt. 422), no reply has been made, and the matter is now

 ready for disposition.

       The standard for deciding whether a motion for acquittal under Rule 29

 should be granted is set out in United States v. Conatser, 514 F.3d 508, 518 (6th Cir.

 2008). In Conatser, the Sixth Circuit explained that in reviewing a motion for

 judgment of acquittal under Fed. R. Crim. P. 29(c),

       [T]he relevant question is whether, after viewing the evidence in the
       light most favorable to the prosecution, any rational trier of fact could
       have found the essential elements of the crime beyond a reasonable

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       doubt.’ Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61
       L.Ed.2d 560 (1979). In making this determination, ‘we do not weigh
       the evidence, assess the credibility of the witnesses, or substitute our
       judgment for that of the jury.’ United States v. Wright, 16 F.3d 1429,
       1440 (6th Cir.1994). All reasonable inferences must be drawn in favor
       of the jury's verdict. United States v. Salgado, 250 F.3d 438, 446 (6th
       Cir.2001).

 514 F.3d at 518.

       Defendant claims that the evidence presented at trial was insufficient to

 permit a rational jury to find him guilty beyond a reasonable doubt, but Defendant’s

 motion contains scant references to particular deficiencies in the testimony or the

 evidence, and instead relies upon generalizations and conclusory statements. It

 cites no legal authority other than Rule 29; at most quoting (without citation) the

 Fifth Circuit’s recently-rejected “equipoise rule,” a rule which nevertheless does not

 control in this Circuit. See United States v. Vargas-Ocampo, 747 F.3d 299 (5th Cir.

 2014) (en banc).

       Regardless, the Court will address each of Defendant’s specific arguments as

 to the sufficiency of the evidence in turn, with the discussion of these arguments

 separated into those that relate to the conspiracy count and those that relate to the

 substantive counts of heath care fraud, as appropriate.




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                                       I.      DISCUSSION

        A. Defendant’s Conspiracy-Related Claims

        Regarding Count 1, which charged Defendant with conspiracy to commit

 health care fraud, in violation of 18 U.S.C. § 1349, the Defendant’s motion identified

 the following problems1 with the evidence:

           “It was the testimony of the health care provider witnesses that
            Srinivas Reddy was never told what was permissible and not
            permissible, legal and illegal as to the rules and regulations of
            Medicare.” (Dkt. 416 at ¶ 7.)

           “It was also clear that the conspiracy alleged in count 1 was ongoing
            long before Srinivas Reddy was hired.” (Dkt. 416 at ¶ 8.)

           “It was never proven by the government that Srinivas Reddy joined
            the conspiracy and specifically if he joined, when the joinder
            occurred, therefore it was impossible for the jury to conclude when
            the government proved Srinivas Reddy became a member of the
            conspiracy and what his role in the conspiracy was.” (Dkt. 416 at ¶
            12.)

           “Many witnesses testified as to various overt acts Srinivas Reddy
            did in furthermore [sic] of the conspiracy, but each witness’ account
            was totally uncorroborated by other witnesses and often totally
            contradicted by each other.” (Dkt. 416 at ¶ 13.)

        In evaluating Defendant’s claims, the Court notes that Defendant has not

 procured a full transcript of the multi-week trial, and consequently does not make

 reference any particular witness testimony or exhibits nor otherwise identifies any

 specific defects in the evidence. The Court therefore relies on its own recollection of

 the evidence, as well as the factual summaries in the parties’ briefs.

 1 Some of Defendant’s claims relating to the conspiracy count could also be directed at the

 substantive health care fraud counts, as they pertain to the weight of the evidence concerning
 knowledge and intent, which are elements of both crimes. The discussion below proceeds from the
 premise that these arguments were intended to apply all counts, such that the analysis is applicable
 to both the conspiracy conviction and the convictions for substantive health care fraud.

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       The Court will consider each of the Defendant’s claims individually.

             1. Defendant Had Insufficient Knowledge of Medicare Regulations

       Regarding Defendant’s claim that health care provider witnesses testified

 that “he was never told what was permissible and not permissible, legal and illegal

 as to the rules and regulations of Medicare,” even if the Court assumes that this

 statement accurately characterizes the evidence, this would not be a sufficient basis

 to justify overturning the jury’s verdict and granting an acquittal. The Defendant

 was not charged with violating a particular Medicare rule or regulation, and the

 government did not have the burden to prove that he had knowledge of “what was

 permissible and not permissible, legal and illegal” under those rules. As the jury

 instructions explained, it was sufficient to prove that the Defendant acted “with

 intent to defraud,” which was further defined as acting “with an intent to deceive or

 cheat for the purpose of either causing a financial loss to another or bringing about

 a financial gain to oneself.” (Court’s Jury Instructions).

       Based on the government’s response and the Court’s own recollection of the

 trial, the following is a summary of some of the evidence upon which a rational juror

 could rely in determining that Defendant Reddy acted with an intent to defraud:

 (a) Defendant was aware that Medicare was being billed based on his certifying

 medical records of beneficiaries; (b) Defendant knew he was not a licensed physician

 and was filling out both in-take forms and prescriptions for pain killers for patients,

 despite the fact these documents were pre-signed by other licensed physicians, and

 consequently were misleading; (c) Defendant knew that he was needed because the



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 licensed physicians would not take the time to see the patients and take down the

 necessary information on the forms necessary to bill Medicare; (d) Defendant did in

 fact hold himself out as a “doctor” to the beneficiaries although he was not in fact a

 licensed physician; (e) Witness Jawad Ahmad, Defendant’s driver during his

 involvement in the scheme, “testified that Dr. Reddy was aware of the nature of his

 involvement,” and that Defendant “understood that the individuals with whom he

 was meeting were looking to sell their Medicare information in exchange for

 prescription narcotics” (Dkt. 422, p. 6); (f) Defendant was the second-most highly

 paid person in the conspiracy, and “once sought a raise from Rahman [the leader of

 the conspiracy], arguing that he was the one who did the hard work of meeting with

 the beneficiaries and filling out paperwork to make the files look correct” (Dkt. 422,

 p. 9); (g) Defendant was aware both that the purpose of his examining the

 beneficiaries was to certify that they were “homebound” and in need of physical

 therapy and therefore eligible to be reimbursed for home health care treatment, and

 that the supposedly “homebound” patients came to see him at various residences,

 and traveled to get there; (h) Witness Ankit Patel testified that Defendant was

 present in the conference room of Quantum Health when fake patient records were

 being created and that he showed Defendant how to fill out a fake OASIS form; (i)

 “Ample evidence and multiple witnesses also proved that Reddy was aware of the

 key role he played in the conspiracy.” (Dkt. 422, p. 9.)

       The evidence presented during the trial was thus clearly sufficient to allow a

 rational jury to conclude that Defendant Reddy acted with the intent to defraud.



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              2. The Conspiracy was Ongoing When Defendant was Hired

        Defendant’s next claim relating to the conspiracy count is that “the

 conspiracy alleged in count 1 was ongoing long before Srinivas Reddy was hired.”

 This may be factually true, but it does not support a motion for acquittal because it

 is legally irrelevant whether the conspiracy was in progress before Defendant was

 hired; the relevant question is whether a rational jury could conclude that the

 evidence was sufficient to show that the Defendant knowingly and intentionally

 joined the conspiracy at some time when it was in progress. See United States v.

 Stephens, 492 F.2d 1367, 1373 (6th Cir. 1974) (“[i]t is not necessary that each

 member of the conspiracy be a member of it from the beginning so long as each joins

 it while it is still in operation.”). The jury instructions specifically advised,

 regarding the level of proof needed to show a defendant’s “connection to the

 conspiracy,” that “the government must prove that defendants knew the

 conspiracy’s main purpose, and that they voluntarily joined it intending to help

 advance or achieve its goals;” however, “this does not require proof that the

 defendants knew everything about the conspiracy, or everyone else involved, or that

 they were a member of it from the very beginning. Nor does it require proof that the

 defendants played a major role in the conspiracy, or that their connection to it was

 substantial. A slight role or connection may be enough.” (Court’s Jury Instructions)

 (emphasis added). Accordingly, this ground does not support a motion for acquittal.




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             3. The Proof was Insufficient Concerning Whether Defendant
                Joined the Conspiracy and his Role in the Conspiracy

       Defendant’s third conspiracy-related claim is that “it was never proven by the

 government that Srinivas Reddy joined the conspiracy and specifically if he joined,

 when the joinder occurred, therefore it was impossible for the jury to conclude when

 the government proved Srinivas Reddy became a member of the conspiracy and

 what his role in the conspiracy was.” This claim can be broken down into several

 points. First, as to the question of when a defendant joined a conspiracy, it is not

 necessary that the proofs answer that question with precision, as the above-quoted

 jury instruction makes plain. This element of Defendant’s claim is without merit.

 The government must prove that the Defendant joined the conspiracy while it was

 in operation, and the evidence presented during the trial was clearly sufficient to

 allow the jury to conclude that the Defendant had joined the conspiracy at some

 point after he began working for Tausif Rahman and after he learned what was

 going on there. See Conatser, 514 F.3d 518 (quoting United States v. Avery, 128

 F.3d 966, 971 (6th Cir. 1997) (“Once a conspiracy is established beyond a reasonable

 doubt, a particular defendant’s connection to the conspiracy ‘need only be slight.’”)).

 As the government’s response points out, “By May 2011, Reddy had worked for

 Rahman for over a year, seeing beneficiaries on behalf of real doctors. The jury

 could easily infer his intent based on his longstanding knowledge of the fact that he

 was facilitating fraud by posing as a physician to obtain Medicare information and

 fill in fake forms.” (Dkt. 422, Govt.’s Resp. at 15.) All of the evidence itemized

 above in the discussion of Defendant’s “intent to defraud” also supports the

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 conclusion that he was aware of the goals of the conspiracy and had joined it at

 some time prior to May 2011. See Dkt. 422 at 7-9. Defendant’s third conspiracy-

 related claim is therefore not well-taken and does not support a motion for

 acquittal.

               4. Witness Accounts are Contradicted or Not Corroborated

        The fourth conspiracy-related claim raised by Defendant is that “[m]any

 witnesses testified as to various overt acts Srinivas Reddy did in furthermore [sic] of

 the conspiracy, but each witness’ account was totally uncorroborated by other

 witnesses and often totally contradicted by each other.” This claim cannot support

 a motion for acquittal because it lacks sufficient detail to allow the Court to

 evaluate what testimony was insufficiently corroborated or “totally contradicted.”

 This alone supports denying this claim in its entirety. The government also

 correctly points out that even if witness testimony was uncorroborated or

 contradicted “as to various overt acts Srinivas Reddy did,” such contradictions or

 lack of corroboration should not carry much weight because the government did not

 have the burden of proving that Defendant committed any overt acts in furtherance

 of a conspiracy under 18 U.S.C. § 1349; that statute does not have an overt act

 element. See United States v. Beasley, No. 12-20030, 2014 WL 1847406 at *2 (E.D.

 Mich. May 8, 2014) (Edmunds, J.)2


 2 The Court recognizes that the Sixth Circuit has decided cases suggesting in dicta that 18 U.S.C. §

 1349 has an overt act element, but these cases appear to be relying on the law applicable to 18
 U.S.C. § 371. See United States v. Mahmud, 541 F. App’x 630, 634 (6th Cir. 2013) (unpublished);
 United States v. Myint, 455 F. App’x 596, 601 (6th Cir. 2012) (unpublished); United States v. Hunt,
 521 F.3d 636, 647 (6th Cir. 2008) (quoting United States v. Crossley, 224 F.3d 847, 856 (6th Cir.
 2000)). Section 1349, unlike the general conspiracy provision of § 371, contains no express language
 requiring proof of the commission of an act to effect the object of the conspiracy. Therefore

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        Moreover, the government correctly points out that this type of challenge

 relates to weighing the quality of the evidence and sorting through any conflicts or

 discrepancies, which falls within the province of the jury. United States v. Cecil,

 615 F.3d 678, 692 (6th Cir. 2010); see also Tibbs v. Florida, 457 U.S. 31, 45 n.21

 (1982) (“The trier of fact, not the appellate court, holds the responsibility … fairly to

 resolve conflicts in the testimony, to weigh the evidence, and to draw reasonable

 inferences from basic facts to ultimate facts.” (internal citation and quotation marks

 omitted)); Matthews v. Abramajtys, 319 F.3d 780, 788 (6th Cir. 2003) (“It is the

 province of the factfinder to weight the probative value of the evidence and resolve

 any conflicts in testimony.”). Based on the evidence adduced at trial, a rational jury

 could have weighed and considered any contradictions among the witnesses or a

 lack of corroboration as to Defendant’s overt acts, and nevertheless concluded that

 the evidence was sufficient to prove Defendant guilty beyond a reasonable doubt.

 This claim also does not support a motion for acquittal.

        B. The Claims Relating to the Substantive Heath Care Fraud Counts

        Defendant makes a number of claims that appear to be addressed to Counts

 4, 5, and 6, which charged him with executing a scheme to commit health care

 fraud, in violation of 18 U.S.C. § 1347. These charges arose from Defendant’s

 visiting the house of cooperating witness Verdell Lovett on May 6, 2011, where

 Defendant’s claim of uncorroborated or contradictory evidence as to Defendant’s overt acts is without
 consequence. However, even if the Sixth Circuit were to hold unequivocally that 18 U.S.C. § 1349
 required proof of an overt act, it was clear from the evidence presented that (a) Defendant Reddy
 clearly committed numerous overt acts that were in furtherance of the conspiracy; and (b) whatever
 contradictions or failures of corroboration occurred in the accounts of the witnesses, they were not so
 significant as to prevent a rational jury from concluding beyond a reasonable doubt that the
 Defendant joined the conspiracy with an understanding of its purpose, and committed acts which
 furthered that purpose.

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  Defendant was videotaped meeting with three different beneficiaries, taking their

  information and medical histories, and filling out forms. The claims regarding

  these counts are as follows:

              “The jury was told by the co-conspirator witnesses that Srinivas
               Reddy was complete and accurate as to filling out the history
               portion of the patient’s interview.” (Dkt. 416, ¶ 9.)

              “[T]hat while Srinivas Reddy identified himself as Dr. Reddy, he
               never held himself out to be a licensed medical doctor, nor was
               Srinivas Reddy ever charged with practicing without a license.”
               (Dkt. 416, ¶ 10.)

              “There was never testimony that Srinivas Reddy ‘examined’
               patients in order to refer patients for home health care.” (Dkt. 416,
               ¶ 11.)

              “[I]t was not proven that Srinivas Reddy had joined the conspiracy
               at the time of the three patients listed in the indictment and
               specifically what the government alleges Srinivas Reddy did on
               May 6, 2011 that violated counts 4, 5, and 6. (Dkt. 416, ¶ 14).

        Having carefully considered Defendant’s motion, the government’s response,

  and the Court’s own recollection of the evidence presented, the Court finds that

  none of the specified grounds are sufficient to support entry of a judgment of

  acquittal.

                  1. Defendant Filled Out Patient Histories Accurately

        Regarding the challenge to the sufficiency of the evidence for Counts 4, 5, and

  6, the health care fraud that occurred on May 6, 2011, Defendant’s first claim is

  that “the co-conspirator witnesses” told the jury “that Srinivas Reddy was complete

  and accurate as to filling out the history portion of the patient’s interview.” This

  argument seems to be suggesting that, if Defendant filled out the patient history


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  accurately, then he was not involved in a health care fraud scheme. All of the

  evidence summarized previously in the discussion concerning the proof of

  Defendant’s “intent to defraud” is relevant here and overcomes Defendant’s claim.

  Because the proof showed that, as of May 6, 2011, Defendant had been involved

  with Rahman’s companies for more than a year and—according to witnesses such as

  Jawad Ahmad—had been assisting in the fraud scheme for some time, it does not

  undermine the sufficiency of the evidence to claim that Defendant was filling out

  patient histories accurately. Ahmad, for example, testified to being present with

  Defendant in an elevator when a person asked them whether they “paid as well” as

  another recruiter. Indeed, according the government’s theory of the case, which the

  jury found to be correct, the scheme depended on using real patient names, and real

  patient backgrounds; the only falsified details were the characterization of the

  patient as “homebound,” and the patient’s supposed need for physical therapy. This

  claim is not a sufficient basis to conclude that a rational jury could not have found

  Defendant guilty.

               2. Defendant Did Not Claim to Be Licensed as a Physician

        The second claim pertaining to the substantive counts is that Defendant

  “never held himself out to be a licensed medical doctor, nor . . . [was he] ever

  charged with practicing without a license.” This claim is not supported by the

  evidence because the patients who testified clearly were under the impression that

  they were seeing a physician, a medical doctor, who could prescribe pain

  medications. Defendant called himself a doctor, and he wrote prescriptions for



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  patients which he then directed to be filled, all while knowing that they were pre-

  signed by another doctor who never examined the patients. Whether Defendant

  ever said the words, “I am a licensed medical doctor,” or whether the authorities

  ever charged him with practicing without a license has no bearing on whether his

  conduct was misleading and fraudulent: it clearly was. Moreover, more than one

  witness testified that Defendant was aware that his role was crucial to the success

  of Rahman’s operation, and that he consequently asked for a raise. The lack of

  proof that Defendant ever made the affirmatively false statement that he was a

  licensed physician is irrelevant to whether a rational jury could have found

  sufficient evidence to convict Defendant of health care fraud.

               3. The Evidence Did Not Show Defendant Examined Patients to Refer
                  Them to Home Health Care

        According to Defendant’s third claim relating to the substantive fraud counts,

  “There was never testimony that Srinivas Reddy ‘examined’ patients in order to

  refer patients for home health care.” It is unclear precisely what this claim is

  intending to assert, whether the evidence was insufficient because it did not show

  Defendant “examined” patients; or whether it was lacking because Defendant

  believes it was necessary for the government to prove that Defendant examined

  patients in order to refer them for home health care. The Court need not linger long

  on this claim because there was ample evidence presented that the Defendant was

  aware that the purpose of Rahman’s companies was to get patients to sign up for

  home health care and to then bill Medicare on the patients’ behalf for physical

  therapy sessions. His role was not necessarily to “examine” the patients, but rather

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  to be the doctor who could fill out realistic intake forms that could be used to “refer”

  patients for home health care and physical therapy. As summarized above, the

  evidence showed that Defendant carried out this role with an intent to defraud.

  This claim is without merit.

               4. The Evidence Did Not Show Defendant Had Joined the Conspiracy
                  by May 6, 2011; Or What Defendant Did That Constituted Health
                  Care Fraud

        The fourth claim advanced by Defendant relating to the substantive fraud

  counts is that “[i]t was not proven that Srinivas Reddy had joined the conspiracy at

  the time of the three patients listed in the indictment and specifically what the

  government alleges Srinivas Reddy did on May 6, 2011 that violated counts 4, 5,

  and 6.” Defendant offers no references to the testimony or evidence to support this

  claim, beyond asserting that it “was not proven.” As a preliminary point, because

  counts 4, 5, and 6 are not conspiracy counts, it is not clear why Defendant

  maintains that to prove a violation of those counts, it had to be proven that

  Defendant had joined the conspiracy at the time he committed the substantive

  counts of health care fraud.

        Nonetheless, conviction on the substantive health care fraud counts does

  require the government to prove “specifically . . .what [the Defendant] did on May 6,

  2011 that violated counts 4, 5, and 6.” Considering all the evidence that was

  presented however, the Court finds that a rational jury could have found Defendant

  guilty beyond a reasonable doubt on Counts 4, 5, and 6. The evidence at trial was

  that, as of May 6, 2011, Defendant had been working in the fraudulent scheme for



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  over a year. Defendant’s conduct on May 6, 2011 was viewed by the jury in the

  context of all the evidence it had heard regarding Defendant’s prior involvement

  and knowledge of the scheme. On that day Defendant visited the home of Verdell

  Lovett, a “recruiter” of Medicare beneficiaries whose job it was to round up people

  willing to sell their Medicare information for access to drugs and cash. Defendant

  had visited Lovett’s home in the past for this same purpose. Defendant Reddy

  played his role by “seeing” the patients at Lovett’s house, taking their histories, and

  filling out the form that would become the basis of the “referral” for home health

  care and for billing Medicare. The proofs further showed that Defendant had

  carried out this same function for many other patients, on many previous occasions,

  prior to May 6, 2011. Defendant had been present in the Quantum offices when

  fake records were being created and was allegedly shown how to fill out a particular

  form. He was aware that the patients were on pain killers, and he repeatedly filled

  out pre-signed prescriptions so that they could continue to get these drugs, and

  completed in-take forms that were a prerequisite to the referral for non-existent

  home health care. It was well within the bounds of rationality for a jury to

  conclude, in light of this evidence and all of the previously-discussed proof

  pertaining to Defendant’s “intent to defraud,” that Defendant was guilty of

  executing a scheme to defraud Medicare as alleged in Counts 4, 5, and 6.




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                                II.    CONCLUSION

        For all of the foregoing reasons, Defendants Motion for Judgment of Acquittal

  under Federal Rule of Criminal Procedure 29(c) is hereby DENIED.

        SO ORDERED.


  Dated: August 25, 2014                       s/Terrence G. Berg
                                               TERRENCE G. BERG
                                               UNITED STATES DISTRICT JUDGE




                                Certificate of Service

        I hereby certify that this Order was electronically submitted on August 25,
  2014, using the CM/ECF system, which will send notification to all parties.

                                               s/A. Chubb
                                               Case Manager




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